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                                          THE UNITED STATES DISTRICT COURT

                                                DISTRICT OF OREGON



              GORDON A. HINKLE,                                CaseNeCV'10-1263                             ST
                                                 Plaintiff,
                                     v.                        COMPLAINT FOR VIOLATIONS OF THE
                                                               FAIR CREDIT REPORTING ACT; FAIR
              EXPERIAN INFORMATION                             DEBT COLLECTION PRACTICES ACT
               SOLUTIONS, INC., EQUIFAX
               INFORMATION SERVICES, LLC,                      DEMAND FOR JURY TRIAL
               TRANS UNION, LLC, WELLS FARGO
               BANK, N.A., and CCB CREDIT
               SERVICES, INC.

                                               Defendants.




                                                     JURISDICTION


                   1.      Jurisdiction of this Court arises under 15 U.S.C. § 1681(p) and 15 U.S.C. § 1692k.

                   2.      This action arises out of Defendants' violations of the Fair Credit Reporting Act,


           COMPLAINT-1
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15 U.S.C. § 1681 et seq. ("FCRA"); Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq

("FDCPA").

       3.       Venue is proper in this District because the acts and transactions occurred here,

Plaintiffresides here, and Defendants transact business here.

                                            PARTIES


       4.       PlaintiffGordon A. Hinkle is a natural person resides in the City of Hood River,

State ofOregon, and isa "consumer" as that term is defined by the FCRA, 15 U.S.C § 1681a(c);
and the FDCPA, 15 U.S.C. § 1692a(3).

       5.       Defendants Experian Information Solutions ("Experian"), Equifax Information

Services, LLC ("Equifax"), and Trans Union, LLC ("Trans Union") are consumer reporting

agencies as defined by 15 U.S.C. § 1681a(f).

       6.       Defendant Wells Fargo Bank, N.A., ("Wells") is a corporation operating from an

address of 420 Montgomery Street, San Francisco, CA 94104 and is a furnisher of credit

information.

       7.       Defendant CCB Credit Services, Inc. (CCB) is a corporation operating from an

address of 5300 6th Street, Springfield, IL62703 and is a debt collector as defined bythe FDCPA,

15 U.S.C §1692a(6).

                                   FACTUAL ALLEGATIONS

        8.      In 2008 plaintiff became aware he was a victim of identity theft because someone

used plaintiffs personal identifiable information to open an account with Wells Fargo without
plaintiffs permission.

        9.      From 2008 to present Defendant Wells Fargo reported false and derogatory

information regarding plaintiffs ownership of the Wells Fargo account to one or more of the
COMPLAINT-2
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national credit reporting agencies.

       10.        In 2009 and2010Plaintiffrepeatedly wrote to Trans Union, Equifax andExperian

to dispute the false information on his creditreport.

       11.        On information and belief, Experian, Equifax and Trans Union communicated

Plaintiffs dispute to Defendant Wells Fargo.

       12.       Defendant Wells Fargo failed to conduct a reasonable reinvestigation of the

disputed account information, resulting in the false and derogatory information continuing to be
reported in Plaintiffs' credit reports. Defendant Wells Fargo also failed to follow reasonable

procedures to permanently block thereporting of false information.

        13.      Defendants Experian, Equifax and Trans Union continued to report the false

information regarding Plaintiffs disputed account.

        14.       Defendant Wells Fargo assigned the collection of the subject account to CCB

which in turn began to attempt collectionfrom plaintiff.

        15.       Plaintiff repeatedly informed CCB that he was the victim of identity theft and

despite plaintiffs disputes, CCB continued to collect from plaintiff.

        16.       As a result of Defendants' actions, Plaintiff has suffered damages including, but

not limited to, low credit scores, high interest payments, denials of credit, lost opportunity to

receive credit, damage to reputation, worry, distress, frustration, embarrassment, invasion of

privacy, and humiliation, and other damages inanamount to bedetermined bythe juryin addition

to statutory damages in an amountto be determinedby the Court.

                                          TRIAL BY JURY


        17.       Plaintiff is entitled to and hereby respectfully demands a trial by jury. US Const,

amend. 7.      Fed. R. Civ. Pro. 38.

COMPLAINT-3
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                                      CAUSES OF ACTION

                                            COUNT I.


                    VIOLATIONS OF THE FAIR CREDIT REPORTING ACT

                                        15 U.S.C. §1681n.

                                           (Wells Fargo)

        18.      Plaintiffincorporates by reference all ofthe above paragraphs ofthis Complaint as

though fully stated herein.

        19.          Defendant Wells Fargo willfully failed to comply with the requirements of 15

U.S.C. § 1681s-2(b).

        20.         As a result of Defendant Wells Fargo's violations of the FCRA, plaintiff has

suffered damages, including denials of credit, lost opportunity to receive credit, damage to
reputation, worry, distress, frustration, embarrassment, invasion ofprivacy, and humiliation, and
other damages in an amount to be determined by the jury in addition to statutory damages in an
amount to be determined by the Court.

        21.        Plaintiffis entitled to attorney fees, pursuant to 15 U.S.C. § 1681n(a).

        22.         Plaintiffis entitled to punitive damages in anamount to bedetermined bythe

jury.

                                             COUNT II.


                    VIOLATIONS OF THE FAIR CREDIT REPORTING ACT

                                         15 U.S.C. § 1681o

                                            (Wells Fargo)

        23.          Plaintiffincorporates by reference all ofthe above paragraphs ofthis Complaint

as though fully stated herein.

 COMPLAINT-4
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       24.          Defendant Wells Fargo negligently failed to complywith the requirements of

15 U.S.C 1681s-2(b).

       25.         As a result of DefendantWells Fargo's violations of the FCRA, plaintiff has

suffered and continues to sufferdamages, including denial of credit, lost opportunity to receive

credit, damage to reputation, worry, fear, distress, frustration, embarrassment, andhumiliation, all

to his damages in an amount to be determined by thejury in addition to statutory damages in an

amount to be determined by the Court.

       26.          Plaintiff is entitled to attorney fees, pursuant to 15 U.S.C. § 1681o(a).



                                            COUNT III.


                   VIOLATIONS OF THE FAIR CREDIT REPORTING ACT

                                         15 U.S.C. §1681n

                                 (Experian, Equifax, Trans Union)

       27.      Plaintiff incorporates by reference all of the above paragraphs of this complaint as

though fully stated herein.

       28.         Experian, Equifax and Trans Union willfully failed to comply withthe

requirements imposed underthe FCRA, including but not limited to:

       a)       failing to follow reasonable procedures to assure maximum possible accuracy of

                the information in consumer reports, as requiredby 15 U.S.C. § 1681e(b); and,

       b)       failing to comply withthe reinvestigation requirements in 15 U.S.C. § 1681i.

       29.        As a result of Experian, Equifax, and Trans Union's violations of the FCRA,

Plaintiffhas sufferedand continuesto suffer damages, includingdenial of credit, lost opportunity

to receive credit, damage to reputation, worry, fear, distress, frustration, embarrassment, and

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humiliation, all to his damages in an amount to be determined by thejury in addition to statutory

damages in an amountto be determined by the Court.

       30.      Plaintiffis entitled to punitive damages in an amount to be determined by thejury.

                                            COUNT IV.


                    VIOLATIONS OF THE FAIR CREDIT REPORTING ACT

                                         15 U.S.C §1681o

                                  (Experian, Equifax, Trans Union)

       31.      Plaintiff incorporates by reference all of the above paragraphs of this complaint as

though fully stated herein.

       32.          Experian, Equifax and Trans Union negligently failed to comply with the

requirements imposed under the FCRA, including but not limited to:

       a)       failing to follow reasonable procedures to assure maximum possible accuracy of

                the information in consumer reports, as required by 15 U.S.C. § 1681e(b); and,

       b)       failing to comply with the reinvestigation requirements in 15 U.S.C. § 168H.

       33.         As a resultof Experian, Equifax, and TransUnion's violations of the FCRA,

Plaintiffhas suffered and continues to sufferdamages, including denial of credit, lost opportunity

to receive credit, damage to reputation, worry, fear, distress, frustration, embarrassment, and

humiliation, all to his damages in an amountto be determined by the jury.

        34.      Plaintiff is entitled to attorney fees, pursuant to 15 U.S.C § 1681o(a).

                                             COUNT V.


              VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                                       15 U.S.C. § 1692 etseq.

                                                (CCB)

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       35. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully stated herein.

       36. The foregoing acts and omissions of Defendants constitute numerous and multiple

violations of the FDCPA including, but not limited to, 15 U.S.C. § 1692d, 1692e, 1692e(l),

1692e(5), 1692e(7), 1692e(10), 1692e(14), 1692f,

       37. As a result of Defendants' violations of the FDCPA, Plaintiff is entitled to actual

damages pursuant to 15 U.S.C. § 1692k(a)(l); statutory damages in an amount up to $1,000.00

pursuant to 15 U.S.C § 1692k(a)(2)(A); and, reasonable attorney's fees and costs pursuant to 15

U.S.C § 1692k(a)(3).

                                    PRAYER FOR RELIEF


         WHEREFORE, Plaintiffs pray that judgment be entered against Defendant for:

                  VIOLATIONS OF THE FAIR CREDIT REPORTING ACT


                                     15 U.S.C. § 1681 etseq.

       38.        On Plaintiffs' First Claim for Relief for willful violations of the FCRA against

Defendant Wells Fargo.

       a)      Actual damages in an amount to be determined by the jury;

       b)      Punitive damages in an amount to be determined by the jury; and,

       c)      Attorney fees and costs.

       39.     On Plaintiffs' Second Claim for Relief for negligent violations ofthe FCRA against

Defendant Wells Fargo.

       a)      Actual damages in an amount to be determined by the jury; and,

       b)      Attorney fees and costs.

       40.     On Plaintiffs Third Claim for Relief for willful violations of the FCRA against

COMPLAINT-7
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Defendants Equifax, Experian and TransUnion.

      a)        Actual damages in anamount to bedetermined bythe jury;

      b)        Punitive damages inanamount to be determined by the jury; and,

      c)        Attorney fees and costs.

      41.       On Plaintiffs' Fourth Claim for Relieffor negligent violations of the FCRA against

 Defendants Equifax, Experian and Trans Union.

       a)       Actual damages inanamount to bedetermined bythe jury; and,

       b)       Attorney fees and costs.

       42.      On Plaintiffs Fifth Claim for relief for violations of the FDCPA against CCB.

       a)       Actual damages inan amount tobe determined by the jury; and
       b)       Statutory damages pursuant to 15 U.S.C. § 1692k;^and

       c)       Attorney fees and costs.

       DATED: October 13,2010
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